Case: Case
      21-50949    Document: 00516056022
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           United States Court of Appeals
                for the Fifth Circuit

                                   No. 21-50949


   United States of America,

                                                              Plaintiff—Appellee,

                                       versus

   State of Texas,

                                                           Defendant—Appellant,

   Erick Graham; Jeff Tuley; Mistie Sharp,

                                                Intervenor Defendants—Appellants.


                  Appeal from the United States District Court
                       for the Western District of Texas
                            USDC No. 1:21-CV-796


   Before Stewart, Haynes, and Ho, Circuit Judges.
   Per Curiam:
          The emergency motions to stay the preliminary injunction pending
   appeal are granted for the reasons stated in Whole Woman’s Health v. Jackson,
   13 F.4th 434 (5th Cir. 2021), and Whole Woman’s Health v. Jackson, 141 S.
   Ct. 2494 (2021). Judge Stewart dissents. The appeal is expedited. The Clerk
   will schedule this case for oral argument before the same panel that will hear
   the appeal in Whole Woman’s Health v. Jackson, No. 21-50792.
  Case: Case
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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                 TEL. 504-310-7700
CLERK                                                      600 S. MAESTRI PLACE,
                                                                   Suite 115
                                                          NEW ORLEANS, LA 70130

                            October 14, 2021
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 21-50949     USA v. State of Texas
                       USDC No. 1:21-CV-796

Enclosed is an order entered in this case.
An expedited briefing schedule will issue under separate cover.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk


                                  By: _________________________
                                  Charles B. Whitney, Deputy Clerk
                                  504-310-7679
Ms.   Jeannette Clack
Ms.   Kyle T. Edwards
Mr.   Thomas Molnar Fisher
Mr.   Mark Reiling Freeman
Ms.   Brianne Jenna Gorod
Ms.   Heather Gebelin Hacker
Ms.   Sarah Elaine Harrington
Amy   Snow Hilton
Ms.   Beth Ellen Klusmann
Mr.   Jonathan F. Mitchell
Mr.   Brian David Netter
Mr.   Leif A. Olson
Mr.   James Ryan Powers
Mr.   Michael S. Raab
Mr.   Alan E. Schoenfeld
Mr.   Andrew Bowman Stephens
Mr.   Judd Edward Stone II
Ms.   Laura Jean Thetford
Ms.   Natalie Deyo Thompson
Mr.   William Thomas Thompson
Mr.   Benjamin Walton
Mr.   Daniel Winik
